     Case 3:18-cv-01032-BEN-BLM Document 7 Filed 07/20/18 PageID.39 Page 1 of 3



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 6

 7

 8                              UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10

11    KAVEH FASIH, individually and on             Case No. 3:18-cv-01032-BEN-BLM
      behalf of all others similarly situated,     Judge: Hon. Roger T. Benitez
12                                                 Ctrm: 5A
                   Plaintiff,
13                                                 PLAINTIFF’S NOTICE OF
                   v.                              DISMISSAL WITH PREJUDICE
14                                                 PURSUANT TO FEDERAL RULE OF
      UNILEVER UNITED STATES, INC., a              CIVIL PROCEDURE 41(A)(1)(A)(I)
15    Delaware corporation; and DOES 1
      through 10, inclusive,
16
                   Defendants.
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                                    NOTICE OF VOLUNTARY DISMISSAL
     Case 3:18-cv-01032-BEN-BLM Document 7 Filed 07/20/18 PageID.40 Page 2 of 3



 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Kaveh
 2    Fasih dismisses with prejudice this action against Unilever United States, Inc.
 3    Defendant has not yet filed or served a response to Plaintiff’s Complaint.
 4

 5
      Dated: July 20, 2018                   PACIFIC TRIAL ATTORNEYS

 6
                                             By: /s/ Scott J. Ferrell
 7                                                  Scott J. Ferrell
                                                    Attorney for Plaintiff
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                                   NOTICE OF VOLUNTARY DISMISSAL
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 1                                 CERTIFICATE OF SERVICE
 2          I hereby certify that on July 20, 2018, I electronically filed the foregoing
 3    PLAINTIFF’S NOTICE OF DISMISSAL WITH PREJUDICE PURSUANT TO
 4    FEDERAL RULE OF CIVIL PROCEDURE 41(A)(1)(A)(I) with the Clerk of the
 5    Court using the CM/ECF system which will send notification of such filing via electronic
 6    mail to all counsel of record.
 7
                                                      /s/ Scott J. Ferrell Esq.
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                                                        Scott J. Ferrell, Esq.
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                                       CERTIFICATE OF SERVICE
